    Case: 4:11-cr-00101-DCN Doc #: 836 Filed: 09/30/16 1 of 3. PageID #: 6779




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



DAQUANN HACKETT,                               )              Case No. 4:11 CR 0101
                                               )
                                               )
                               Petitioner,     )              JUDGE DONALD C. NUGENT
               -vs-                            )
                                               )              MEMORANDUM OPINION
UNITED STATES OF AMERICA,                      )                  AND ORDER
                                               )
                               Respondent.     )




       This case is before the Court on Daquann Hackett’s motion to vacate his sentence pursuant

to 28 U.S.C. § 2255. (Doc. No. 823). The United States has filed a response. (Doc. No. 830). This

is Mr. Hackett’s third motion to vacate.

       On August 31, 2011, Mr. Hackett was charged in a multi-count indictment with being a

conspirator in a Racketeering Influenced and Corrupt Organization Act (RICO) conspiracy in

violation of 18 U.S.C. § 1962(d) (Count 1); conspiracy to commit murder, in violation of 18 U.S.C.

§ 1959(a)(5) (Counts 3, 30, and 31); knowingly using and carrying a firearm while committing a

crime of violence, in violation of 18 U.S.C. § 924(c )(1)(A)(ii) (Count 4); conspiracy to possess with

intent to distribute crack cocaine, in violation of 18 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B) (Counts

12-21, 28, 40, and 41); possession with intent to distribute and distribution of crack cocaine, in

violation of 18 U.S.C. § 841(a)(1) and (b)(1)(B) (Counts 22, 23, and 35); killing or attempting to
    Case: 4:11-cr-00101-DCN Doc #: 836 Filed: 09/30/16 2 of 3. PageID #: 6780




kill with intent to retaliate against a person for providing law enforcement with information relating

to the commission of a federal offense, in violation of 18 U.S.C. § 1513(a)(1)(B) (Count 29); and

knowingly using and carrying a firearm during a crime of violence, in violation of 18 U.S.C.

§ 924(c)(1)(A)(I) (Count 31). (Doc. No. 301).

       Mr. Hackett was convicted by a jury on all Counts except Count 30. On October 17, 2012,

this Court sentenced Mr. Hackett to 324 months imprisonment on Counts 1, 22, 23, 28, 29, and 35;

120 months imprisonment on Counts 3 and 31; and 240 months imprisonment on Counts 13-21, all

to be served concurrently. (Doc. No. 707). Additionally, this Court sentenced Mr. Hackett to 10

years imprisonment on Count 4, to be served consecutively. (Id.). On appeal, the Sixth Circuit

reversed the 10 year sentence on Count 4, and on remand, this Court corrected the sentence to 60

months imprisonment to be served consecutively. United States v. Hackett, 782 F.3d 493 (6th Cir.

2014); (Doc. No. 753).

       Mr. Hackett filed his first Motion to Vacate under § 2255 on August 7, 2015, claiming

ineffective assistance of counsel. (Doc. No. 763). This Court denied Mr. Hackett’s motion stating

that Mr. Hackett failed to present any evidence in support of his claim, and that he only submitted

“. . . self-serving, conclusory statements regarding the alleged deficiencies of Counsel.” (Doc. No.

780). On April 4, 2016, Mr. Hackett filed his first motion to amend judgment, which this Court

subsequently denied. (Doc. Nos. 783, 785). On June 6, 2016, Mr. Hackett filed a second motion to

amend, this time arguing that his sentence was miscalculated under Johnson v. United States, 135

S. Ct. 2251 (2015). This Court construed this second motion to amend as a successive § 2255 motion

and transferred it to the Sixth Circuit, where Mr. Hackett filed a corrected § 2244 motion. (Doc. Nos.

802, 813).


                                                  2
    Case: 4:11-cr-00101-DCN Doc #: 836 Filed: 09/30/16 3 of 3. PageID #: 6781




       Before the Sixth Circuit decided his previous motion to vacate, Mr. Hackett filed the present,

his third, § 2255 motion, raising the same Johnson issue as his previous motion. (Doc. No. 823).

       Section 2255 provides that:

       A second or successive motion must be certified as provided in section 2244 by a
       panel of the appropriate court of appeals to contain —

               (1) newly discovered evidence that, if proven and viewed in light of
               the evidence as a whole, would be sufficient to establish by clear and
               convincing evidence that no reasonable factfinder would have found
               the movant guilty of the offense; or

               (2) a new rule of constitutional law, made retroactive to cases on
               collateral review by the Supreme Court, that was previously
               unavailable.

See 28 U.S.C. § 2255(h).

       Since Mr. Hackett has failed to receive authorization from the Sixth Circuit to file this

successive § 2255 motion, the motion may not be reviewed by the Court at this juncture. Therefore,

the Clerk of Court is directed to transfer Mr. Hackett’s instant motion to the Sixth Circuit Court of

Appeals pursuant to In re Sims, 111 F.3d 45, 47 (6th Cir. 1997).



       IT IS SO ORDERED.




                                                       /s/ Donald C. Nugent
                                                      Donald C. Nugent
                                                      United States District Judge

Date: September 30, 2016




                                                 3
